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                                                                    EXHIBIT
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                            COMMONWEALTH OF KENTUCKY




                                                                                            F0A2C546-1D04-4E90-8104-FA0E5F4CEB82 : 000005 of 000006
                              CAMPBELL CIRCUIT COURT
                              CIVIL ACTION NO. 20-CI-00808
                                     DIVISION NO. I
                              **ELECTRONICALLY FILED**


 LILY BISCHOFF                                                                PLAINTIFF

 vs.

 STATE FARM AUTOMOBILE
 MUTUAL INSURANCE COMPANY                                                   DEFENDANT



                                    ORDER
 ______________________________________________________________________________

        This matter having come on for hearing upon motion of the Defendant, State Farm

 Automobile Mutual Insurance Company, to remove this case from the Economic Litigation

 Docket of this Court, and the Court being otherwise fully and sufficiently advised;

        IT IS HEREBY ORDERD, that the Motion to Remove this case from Economic

 Litigation Docket is SUSTAINED and this case BE AND HEREBY IS removed from the

 Economic Litigation Docket.



        Dated this _____ day of ___________________, 20_____.



                                                     ____________________________________
                                                     JUDGE, CAMPBELL CIRCUIT COURT          TD : 000001 of 000002
Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 31 of 70 - Page ID#: 36




                                                                                       F0A2C546-1D04-4E90-8104-FA0E5F4CEB82 : 000006 of 000006
 CLERK’S DISTRIBUTION:

 Hon. Kyle R. Sayler
 Morgan, Collins, Yeast & Sayler
 PO Box 2213
 455 2nd Street
 Paintsville, KY 41240

 Hon. Martin S. Summe
 Summe & Summe, PSC
 19 West Eleventh Street
 Covington, KY 41011

 Hon. Darrin W. Banks
 Porter, Banks, Baldwin & Shaw
 P. O. Drawer 1767
 Paintsville, KY 41240


 ___________________________________
 CAMPBELL CIRCUIT COURT CLERK




                                                                                       TD : 000002 of 000002
Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 32 of 70 - Page ID#: 37
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                             COMMONWEALTH OF KENTUCKY




                                                                                                       C1D8A18B-98FE-4C05-A055-655B2356D057 : 000001 of 000002
                               CAMPBELL CIRCUIT COURT
                              CIVIL ACTION NO. 20-CI-00808
                                     DIVISION NO. I

  LILY BISCHOFF                                                                      PLAINTIFF

  V.

  STATE FARM MUTUAL AUTOMOBILE                                                    DEFENDANT
  INSURANCE COMPANY



                           NOTICE OF SERVICE OF DISCOVERY

 ______________________________________________________________________

        Please take notice that on December 17th, 2020, the Plaintiff, Lily Bischoff, by and through

 her undersigned counsel, served Discovery requests upon the Defendant, State Farm. The

 Discovery served is pursuant to the Kentucky Rules of Civil Procedure 33 and 34.



                                                     Respectfully Submitted,

                                                     /s/ Kyle R. Sayler
                                                     Kyle R. Sayler
                                                     Morgan, Collins, Yeast & Sayler
                                                     PO Box 2213
                                                     455 2nd Street
                                                     Paintsville, KY 41240
                                                     Tel: 606-789-1135
                                                     Kyle.salyer@kentuckycourage.com


                                                     /s/ Martin S. Summe
                                                     Martin S. Summe
                                                     Summe & Summe, PSC
                                                     19 West Eleventh Street
                                                     Covington, KY 41011
                                                     Tel. (859) 491-2593
                                                     Fax (859) 479-0188
                                                     Attorneys for the Plaintiffs
Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 34 of 70 - Page ID#: 39




                               CERTIFICATE OF SERVICE




                                                                                           C1D8A18B-98FE-4C05-A055-655B2356D057 : 000002 of 000002
         This is to hereby certify that the foregoing was sent on December 17th, 2020 to
 the following:

 Darrin Banks
 Porter, Banks, Baldwin & Shaw, PLLC
 P.O. Box Drawer 1767
 Paintsville, KY 41240
 dbanks@psbb-law.com


                                                 /s/ Martin S. Summe
                                                 Martin S. Summe
Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 35 of 70 - Page ID#: 40




                            COMMONWEALTH OF KENTUCKY




                                                                                                      4D00E7A3-07AE-437B-B49C-F235FF43FFDA : 000001 of 000003
                              CAMPBELL CIRCUIT COURT
                             CIVIL ACTION NO. 20-CI-00808
                                    DIVISION NO. I

  LILY BISCHOFF                                                                     PLAINTIFF

  V.

  STATE FARM MUTUAL AUTOMOBILE                                                    DEFENDANT
  INSURANCE COMPANY



                    NOTICE OF SERVICE OF DISCOVERY ANSWERS

 ______________________________________________________________________

        Please take notice that on January 12th, 2021, the Plaintiff, Lily Bischoff, by and through

 her undersigned counsel, Answered the Defendant, State Farm request for admission.




                                                    Respectfully Submitted,


                                                     /s/ Martin S. Summe
                                                     Martin S. Summe
                                                     Summe & Summe, PSC
                                                     19 West Eleventh Street
                                                     Covington, KY 41011
                                                     Tel. (859) 491-2593
                                                     Fax (859) 479-0188
                                                     Attorneys for the Plaintiffs

                                                     Kyle R. Sayler
                                                     Morgan, Collins, Yeast & Sayler
                                                     PO Box 2213
                                                                                                      NO : 000001 of 000003




                                                     455 2nd Street
                                                     Paintsville, KY 41240
                                                     Tel: 606-789-1135
                                                     Kyle.salyer@kentuckycourage.com
Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 36 of 70 - Page ID#: 41




                               CERTIFICATE OF SERVICE




                                                                                             4D00E7A3-07AE-437B-B49C-F235FF43FFDA : 000002 of 000003
        This is to hereby certify that the foregoing was sent on January 12th, 2020 to the
 following:

 Darrin Banks
 Porter, Banks, Baldwin & Shaw, PLLC
 P.O. Box Drawer 1767
 Paintsville, KY 41240
 dbanks@psbb-law.com


                                                 /s/ Martin S. Summe
                                                 Martin S. Summe




                                                                                             NO : 000002 of 000003




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                                                                                       NO : 000003 of 000003




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                                COMMONWEALTH OF KENTUCKY
                                   CAMPBELL CIRCUIT COURT
                                         DIVISION NO. I
                                  CIVIL ACTION NO. 20-CI-00808


  LILY BISCHOFF                                                                         PLAINTIFF

  v.

  STATE FARM MUTUAL AUTOMOBILE                                    DEFENDANT
  INSURANCE COMPANY
 ___________________________________________________________________________

                         AGREED PROTECTIVE ORDER
 ___________________________________________________________________________

          At the request of the defendant, State Farm Mutual Automobile Insurance Company

 (“State Farm”), for a Protective Order before disclosing certain allegedly confidential

 documents and information, IT IS HEREBY ORDERED:

          This Court finds that a Protective Order is warranted to protect Confidential

 Information, which will be produced or exchanged in this litigation, and that the following

 provisions, limitations, and prohibitions are appropriate pursuant to and in conformity with Rule

 26(1) of the Kentucky Rules of Civil Procedure. Therefore, it is hereby ORDERED that:

       1. All Confidential Information produced or exchanged in the course of this litigation shall

          be used solely for the purpose of the preparation and trial of this litigation against State

          Farm Mutual Automobile Insurance Company (including its employees) or any third party

          adjusting firm (including its employees) that adjusted this claim and for no other purpose.

          Confidential Information, or extracts, summaries, or information derived from

          Confidential Information, shall not be disclosed to any person except in accordance with

          the terms of this Order. Confidential Information may only be copied or reproduced as

          reasonably necessary for use solely in this litigation.

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  2. “Confidential Information,” as used herein, means any information of any type that is designated

     as “Confidential” and/or “Trade Secret” by any of the producing or receiving parties, whether

     it is: a document, electronically stored information (“ESI”), or other material; information

     contained in a document, ESI, or other material; information revealed during a deposition;

     information revealed in an interrogatory answer or written responses to discovery;

     information revealed during a meet and confer, or otherwise in connection with formal or

     informal discovery.

  3. The disclosure of Confidential Information is restricted to Qualified Persons. “Qualified

     Persons,” as used herein, means: the parties to this pending litigation captioned Lily Bischoff

     v. State Farm Mutual Automobile Insurance Company; in Campbell Circuit Court, Case No.

     20-CI-00808 their respective counsel; counsel’s staff; expert witnesses; outside service-

     providers and consultants providing services related to document and ESI processing, hosting,

     review, and production; the Court; other court officials (including court reporters); the trier of

     fact pursuant to a sealing order as provided in paragraph 17 below; and any person so

     designated pursuant to paragraph 4 herein. If this Court so elects, any other person may be

     designated as a Qualified Person by order of this Court, after notice to all parties and a hearing.

  4. Any party may serve a written request for authority to disclose Confidential Information to a

     person who is not a Qualified Person or counsel for the designating party, and consent shall not

     be unreasonably withheld. However, until said requesting party receives written consent to

     further disclose the Confidential Information, the further disclosure is hereby prohibited and




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     shall not be made absent further order of this Court. If the designating party grants its consent,

     then the person granted consent shall become a Qualified Person under this Order.

  5. Counsel for each party shall provide a copy of this Order to any person—other than the Court,

     court officials, or the trier of fact—who will receive Confidential Information in connection

     with this litigation and shall advise such person of the scope and effect of the provisions of this

     Order and the possibility of punishment by contempt for violation thereof. Further, before

     disclosing Confidential Information to any person other than the Court, court officials, or the trier

     of fact, counsel for the party disclosing the information shall obtain the written acknowledgment

     of that person binding him or her to the terms of this Order. The written acknowledgment shall

     be in the form of Exhibit A attached hereto. Counsel for the disclosing party shall retain the

     original written acknowledgment and furnish a copy of the signed written acknowledgment to

     the designating party’s counsel within ten (10) business days.

  6. Information shall be designated as Confidential Information within the meaning of this Protective

     Order by following the protocol below that corresponds to the format produced:

     A.      For hard-copy documents, by marking the first Bates-stamped page of the document

             and each subsequent Bates-stamped page thereof containing Confidential Information

             with the following legend: “Confidential & Proprietary/Produced Pursuant to a Conf.

             Agree./Prot. Order” or “Confidential Proprietary & Trade Secret/Produced Pursuant to a

             Conf. Agree./Prot. Order,” but not so as to obscure the content of the document.

     B.      For static image productions, by marking the first Bates-stamped page of the image and

             each subsequent Bates-stamped page thereof containing Confidential Information with

             the following legend: “Confidential & Proprietary/Produced Pursuant to a Conf.

             Agree./Prot. Order” or “Confidential Proprietary & Trade Secret/Produced Pursuant to

             a Conf. Agree./Prot. Order,” but not so as to obscure the content of the image.
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     C.    For native file format productions, by prominently labeling the delivery media for ESI

           designated    as      Confidential   Information    as    follows:    “Confidential     &

           Proprietary/Produced Pursuant to a Conf. Agree./Prot. Order” or “Confidential

           Proprietary & Trade Secret/Produced Pursuant to a Conf. Agree./Prot. Order.” In

           addition, at the election of the producing party, the electronic file may have appended to

           the file’s name (immediately following its Bates identifier) the following protective

           legend:

           “CONFIDENTIAL         SUBJECT TO PROTECTIVE ORDER IN Civil Action No. 20-

           CI-00808”. When any file so designated is converted to a hard-copy document or

           static image for any purpose, the document or image shall bear on each page a protective

           legend as described in 6.a. and 6.b. above. If a native file containing Confidential

           Information is used during a deposition, meet and confer, trial, or is otherwise disclosed

           post-production, the party introducing, referencing, or submitting the native file must

           append to the file’s name (immediately following its Bates identifier) the protective

           legend: “CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER IN Civil Action

           No. 20-CI-00808” if such legend does not already appear in the file name. Any party

           using a native file containing Confidential Information in a deposition, hearing, or at

           trial must indicate the designation on the record so that it is reflected in the transcript

           of the proceedings.


     D.    At the sole discretion of the producing party, the producing party may place on any hard-

           copy documents that are subject to this Protective Order watermarks or seals to indicate

           the document is subject to a Protective Order and is produced under the specific cause

           number.

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  7. Information previously produced during this litigation and not already marked as Confidential

     Information shall be retroactively designated within thirty (30) days of entry of this Order by providing

     written notice to the receiving parties of the Bates identifier or other identifying characteristics for the

     Confidential Information.

        a.      Within thirty (30) days of receipt of such notice, or such other time as may be agreed

                upon by the parties, any parties receiving such notice shall return to the designating

                party all undesignated copies of such information in their custody or possession, in

                exchange for the production of properly designated information, or alternately (upon

                the agreement of the parties) shall (i) affix the legend to all copies of such designated

                information in the party’s possession, custody, or control consistent with the terms of

                this Protective Order, and/or (ii) with respect to ESI, take such reasonable steps as

                will reliably identify the item(s) as having been designated as Confidential

                Information.

        b.      Information that is unintentionally or inadvertently produced without being

                designated as Confidential Information may be retroactively designated by the

                producing party in the manner describe in paragraph 7.a. above. If a retroactive

                designation is provided to the receiving party, the receiving party must (i) make no

                further disclosure of such designated information except as allowed under this Order;

                (ii) take reasonable steps to notify any persons who were provided copies of such

                designated information of the terms of this Order; and (iii) take reasonable steps to

                reclaim any such designated information in the possession of any person not permitted

                access to such information under the terms of this Order. No party shall be deemed to


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               have violated this Order for any disclosures made prior to notification of any

               subsequent designation.

  8. If Confidential Information is inadvertently disclosed to a person who is not a Qualified Person,

     the disclosing party shall immediately upon discovery of the inadvertent disclosure, send a

     written demand to the non-Qualified Person demanding the immediate return and/or

     destruction of the inadvertently disclosed Confidential Information, all copies made, and all

     notes that reproduce, copy, or otherwise contain information derived from Confidential

     Information. Further the disclosing party shall send written notice to the designating party’s

     counsel providing:

        a.     The names and addresses of the entity or individual to whom the Confidential

               Information was inadvertently disclosed.

        b.     The date of the disclosure.

        c.     A copy of the notice and demand sent to the entity or individual that inadvertently

               received the Confidential Information.

  9. To the extent that the parties produce information received from non-parties that the non-parties

     have designated as “confidential” such information shall be treated as Confidential

     Information in accordance with the terms of this Protective Order.

        a.     With respect to any document, ESI, or other material that is produced or disclosed

               by a non-party, any party may designate such information as Confidential

               Information within thirty (30) days of actual knowledge of the production or

               disclosure, or such other time as may be agreed upon by the parties.

        b.     Within thirty (30) days of receipt of such notice, or such other time as may be agreed

               upon by the parties, any parties receiving such notice shall return to the designating

               party all undesignated copies of such information in their custody or possession, in
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               exchange for the production of properly designated information, or alternately (upon

               the agreement of the parties) shall (i) affix the legend to all copies of such designated

               information in the party’s possession, custody, or control consistent with the terms of

               this Protective Order, and/or (ii) with respect to ESI, take such reasonable steps as

               will reliably identify the item(s) as having been designated as Confidential

               Information.

        c.     Upon notice of designation pursuant to this Paragraph, the parties also shall: (i) make

               no further disclosure of such designated information except as allowed under this

               Order; (ii) take reasonable steps to notify any persons who were provided copies of

               such designated information of the terms of this Order; and (iii) take reasonable steps

               to reclaim any such designated information in the possession of any person not

               permitted access to such information under the terms of this Order. No person shall

               be deemed to have violated this Order for any disclosures made prior to notification of

               any subsequent designation.

        d.     The parties shall serve a copy of this Order simultaneously with any discovery request

               made to a non-party.

  10. Deposition testimony is Confidential Information under the terms of this Order only if counsel

     for a party advises the court reporter and opposing counsel of that designation at the deposition,

     or by written designation to all parties and the court reporter within thirty (30) business days

     after receiving the deposition transcript. All deposition transcripts shall be considered

     Confidential Information until thirty (30) days following the receipt of the deposition transcript.

     In the event testimony is designated as Confidential Information, the court reporter shall

     note the designation on the record, shall separately transcribe those portions of the testimony,


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     and shall mark the face of such portion of the transcript as “Confidential Information.” The

     parties may use Confidential Information during any deposition, provided:

        a.      The witness is apprised of the terms of this Order and executes the acknowledgment

                attached hereto as Exhibit A.

        b.      The room is first cleared of all persons who are not Qualified Persons.


  11. In the case of interrogatory answers, responses to request for production, and responses to requests

     for admissions, the designation of Confidential Information will be made by means of a

     statement in the answers or responses specifying that the answers or responses or specific

     parts thereof are designated as Confidential Information. A producing party shall place the

     following legend on each page of interrogatory answers or responses to requests for admission:

     “Contains Confidential Information.”

  12. Confidential Information disclosed during a meet and confer or otherwise exchanged in

     informal discovery, shall be protected pursuant to this Order if counsel for the disclosing

     party advises the receiving party the information is Confidential Information. If the Confidential

     Information disclosed during a meet and confer or otherwise exchanged in informal discovery

     is in the form of hard-copy documents, static images, or native files, that information shall

     be designated as Confidential Information pursuant to paragraphs 6 a., b., and/or c. above,

     depending on the format of the materials introduced.

  13. If a receiving party makes a good-faith determination that any materials designated

     Confidential Information are not in fact “confidential” or “trade secret,” the receiving party may

     request that a designating party rescind the designation. Such requests shall not be rejected

     absent a good-faith determination by the designating party that the Confidential Information

     is entitled to protection.

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  14. After making a good-faith effort to resolve any disputes regarding whether any designated

     materials constitute Confidential Information, counsel of the party or parties receiving the

     Confidential Information may challenge such designation of all or any portion thereof by

     providing written notice of the challenge to the designating party’s counsel. The designating

     party shall have thirty (30) days from the date of receipt of a written challenge to file a motion for

     specific protection with regard to any Confidential Information in dispute. If the party or parties

     producing the Confidential Information does not timely file a motion for specific protection, then

     the Confidential Information in dispute shall no longer be subject to confidential treatment as

     provided in this Order.

  15. If a timely motion for specific protection is filed, any disputed Confidential Information will

     remain subject to this Order until a contrary determination is made by the Court. At any hearing

     the designating party shall have the burden to establish that party’s right to protection as if this

     Order did not exist. A party’s failure to challenge the Confidential Information designation of

     any documents, ESI, information, or testimony does not constitute an admission that the

     document, ESI, information or testimony is, in fact, sensitive, confidential, or proprietary. No

     party waives its right to contend at trial or hearing that such document, ESI, information or

     testimony is not sensitive, confidential, privileged or proprietary, provided the party provides

     notice of intention to do so at least twenty (20) days before such trial or hearing.

  16. Any party that seeks to place Confidential Information, or extracts, summaries, or information

     derived therefrom, in the court record shall bring a motion in accordance with CR 26.03(1)(g).

  17. At a hearing or the trial in this matter, if any party seeks to offer or introduce documents that are

     Confidential Information, or that contain extracts, summaries, or information derived therefrom,

     or if any party seeks to elicit testimony or refer to any such Confidential Information, such

     documents, testimony, or information shall be filed or submitted to the Court pursuant to CR
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     26.03(1)(g). At that time, the Court shall make a decision as to whether to list the Confidentiality

     of said document or otherwise protect and retain its confidentiality.

  18. Pursuant to the agreement of the parties no disclosure, production, or exchange of information

     in this case shall constitute a waiver of any applicable attorney-client privilege or of any

     applicable work product protection in this or any other federal or state proceeding. This

     Protective Order applies to any information disclosed, exchanged, produced, or discussed –

     whether intentionally or inadvertently – among the parties, their counsel and/or any agents (such

     as vendors and experts) in the course of this litigation. Upon learning of a production of privileged

     or work product protected information, the producing party shall within ten (10) days give all

     counsel of record notice of the production. The receiving party must promptly return,

     sequester or destroy the produced information and all copies and destroy any notes that

     reproduce, copy, or otherwise disclose the substance of the privileged or work product protected

     information.

  19. Further, production pursuant to this Protective Order shall not be deemed a waiver of:

        a.     Any party’s right to object to any discovery requests on any ground.

        b.     Any party’s right to seek an order compelling discovery with respect to any

               discovery request.

        c.     Any party’s use and review of its own Confidential Information in its sole and

               complete discretion.

        d.     The status of any material as a trade secret.

        e.     Any party’s right to use the documents produced pursuant to this order at the trial of

               this cause.

  20. Any Qualified Person who obtains information pursuant to this Order consents to submitting

     to the jurisdiction of this Court for enforcement of this Order.
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  21. Within forty-five (45) business days after the final resolution of this litigation, the plaintiff(s)

     shall return or destroy Confidential Information they received during this litigation. As to those

     materials that contain or reflect Confidential Information, but that constitute or reflect the

     plaintiff(s) counsel’s own work product, counsel for the plaintiff(s) are entitled to retain such

     work product in their files in accordance with the provisions of this Protective Order, so long as

     the work product is clearly marked to reflect that it contains information subject to this

     Protective Order. Plaintiff’s counsel is entitled to retain pleadings, affidavits, motions, briefs,

     other papers filed with the Court, deposition transcripts, and the trial record even if such

     materials contain Confidential Information, so long as such materials are clearly marked to

     reflect that they contain information subject to this Protective Order and are maintained in

     accordance with the provisions of this Protective Order. Plaintiff’s counsel shall certify in writing

     compliance with the provision of this paragraph after forty-five (45) business days after the final

     resolution of this litigation.

             Nothing in this Paragraph shall affect or impair the producing party’s rights in respect to

     its own Confidential Information. Further, nothing in this Order shall prohibit, restrict, or

     require an authorization for State Farm’s retention, use, or disclosure of Confidential

     Information as authorized or as reasonably required by federal or state law or regulation, or

     court order or rule, or to meet internal administrative or business requirements.



       IT IS SO ORDERED this               day of                     , 2021.




                                                     ________________________________________
                                                     JUDGE, CAMPBELL CIRCUIT COURT



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 Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 49 of 70 - Page ID#: 54




AGREED TO:

/s/ Kyle Salyer (signed by permission-DWB)
Kyle Salyer, Esq.
Attorney for Plaintiff


/s/__Darrin W. Banks__________________
Darrin W Banks, Esq.
Attorney for, State Farm Mutual Automobile
Insurance Company



                                     CLERK’S DISTRIBUTION

This will certify that on this        day of               , 2021, a copy of the foregoing
was served upon via U.S. Mail upon the following:

Kyle R. Sayler, Esq.
Morgan, Collins, Yeast & Sayler
PO Box 2213
455 2nd Street
Paintsville, KY 41240
Kyle.salyer@kentuckycourage.com
Counsel for the Plaintiff, Lily Bischoff

Martin S. Summe, Esq.
Summe & Summe, PSC
19 West Eleventh Street
Covington, KY 41011
summemlaw@gmail.com
Counsel for the Plaintiff, Lily Bischoff

Darrin W. Banks, Esq.
327 Main Street, P.O. Drawer 1767
Paintsville, Kentucky 41240-1767
dbanks@psbb-law.com
Counsel for Defendant, State Farm Mutual
Automobile Insurance Company
                                               __________________________________
                                               CLERK, CAMPBELL CIRCUIT COURT




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  Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 50 of 70 - Page ID#: 55


                                                 Exhibit A


                                  NONDISCLOSURE AGREEMENT
    I,                                     (PRINT NAME), do solemnly swear that I am fully familiar with

the terms of the Protective Order entered in Lily Bischoff v. State Farm Mutual Automobile Insurance

Company, Commonwealth of Kentucky, Campbell Circuit Court, Division No. I, Civil Action No. 20-CI-

00808, and agree to comply with and be bound by the terms and conditions of said Order unless and until

modified by further Order of this Court.

    I understand that Confidential Information, as defined in the Protective Order, including any notes or

other records that may be made regarding any such materials, shall not be disclosed to anyone except as

expressly permitted by this Protective Order. I will not copy or use, except solely for the purposes of this

Proceeding, any Confidential Information obtained pursuant to this Stipulated Protective Order, except as

provided therein or otherwise ordered by the Court in the proceeding.

    I further understand that I am to retain all copies of all Confidential Information provided to me in the

proceeding in a secure manner, and that all copies of such Confidential Information are to remain in my

personal custody until termination of my participation in this proceeding, whereupon the copies of such

Confidential Information will be returned to counsel who provided me with such Confidential Information.

    I consent to the jurisdiction of this Court for purposes of enforcing this Order.

    Executed this          day of _________, 20___, at                            , Kentucky.
Dated:
                                                  By:
                                                  Signature:
                                                  Title:
                                                  Address:
                                                  City, State, Zip:                      ____________
Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 51 of 70 - Page ID#: 56
Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 52 of 70 - Page ID#: 57
Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 53 of 70 - Page ID#: 58
Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 54 of 70 - Page ID#: 59
Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 55 of 70 - Page ID#: 60
Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 56 of 70 - Page ID#: 61
Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 57 of 70 - Page ID#: 62
Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 58 of 70 - Page ID#: 63
Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 59 of 70 - Page ID#: 64
Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 60 of 70 - Page ID#: 65
Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 61 of 70 - Page ID#: 66
Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 62 of 70 - Page ID#: 67
Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 63 of 70 - Page ID#: 68
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                             COMMONWEALTH OF KENTUCKY
                                CAMPBELL CIRCUIT COURT
                                      DIVISION NO. I
                               CIVIL ACTION NO. 20-CI-00808

                               **ELECTRONICALLY FILED**

  LILY BISCHOFF                                                                 PLAINTIFF

  v.

  STATE FARM MUTUAL AUTOMOBILE                                    DEFENDANT
  INSURANCE COMPANY
 ______________________________________________________________________________

                               NOTICE OF FILING
 ______________________________________________________________________________

        The Court is hereby notified that on the 18th day of March 2021, the Defendant, State

 Farm Mutual Automobile Insurance Company, filed its Answers to Interrogatories and

 Responses to Requests for Production of Documents propounded by the Plaintiff, Lily Bischoff,

 upon Plaintiff’s counsel.


                                    Respectfully submitted,
                                    PORTER, BANKS, BALDWIN & SHAW, PLLC


                                    /s/ Darrin W. Banks                            .
                                    Darrin W. Banks
                                    327 Main Street, P.O. Drawer 1767
                                    Paintsville, Kentucky 41240-1767
                                    Telephone: (606) 789-3747
                                    Facsimile: (606) 314-0417
                                    dbanks@psbb-law.com
                                    Counsel for Defendant, State Farm Mutual
                                    Automobile Insurance Company




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Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 65 of 70 - Page ID#: 70




                                   CERTIFICATE OF SERVICE

        I certify that the foregoing document was electronically filed with the Clerk of this Court

 using the Kentucky Courts eFiling system, which will send notification of such filing to all parties

 registered to receive electronic filings and that a true and accurate copy of the foregoing document

 was also served via U.S. mail and/or email upon the following:


 Kyle R. Sayler, Esq.
 Morgan, Collins, Yeast & Sayler
 PO Box 2213
 455 2nd Street
 Paintsville, KY 41240
 Kyle.salyer@kentuckycourage.com
 Counsel for the Plaintiff, Lily Bischoff

 Martin S. Summe, Esq.
 Summe & Summe, PSC
 19 West Eleventh Street
 Covington, KY 41011
 summemlaw@gmail.com
 Counsel for the Plaintiff, Lily Bischoff

 Original e-filed with:

 Clerk of the Court
 Campbell Circuit Court
 330 York Street - Suite 8
 Newport, KY 41071

 This the 18th day of March 2021.
                                               //s// Darrin W. Banks                           .
                                               Darrin W. Banks
                                               Counsel for Defendant, State Farm Mutual
                                               Automobile Insurance Company




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Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 66 of 70 - Page ID#: 71




                               COMMONWEALTH OF KENTUCKY
                                  CAMPBELL CIRCUIT COURT
                                        DIVISION NO. I
                                 CIVIL ACTION NO. 20-CI-00808

                                  **ELECTRONICALLY FILED**

  LILY BISCHOFF                                                                    PLAINTIFF

  v.

  STATE FARM MUTUAL AUTOMOBILE                                    DEFENDANT
  INSURANCE COMPANY
 ______________________________________________________________________________

                              NOTICE OF SERVICE
 ______________________________________________________________________________

        The Court is hereby notified that on the 23rd day of March 2021, the Defendant, State

 Farm Mutual Automobile Insurance Company, served its First Supplemental Answers to

 Interrogatories and Responses to Requests for Production of Documents propounded by the

 Plaintiff, Lily Bischoff, upon Plaintiff’s counsel.


                                        Respectfully submitted,
                                        PORTER, BANKS, BALDWIN & SHAW, PLLC


                                        /s/ Darrin W. Banks                         .
                                        Darrin W. Banks
                                        327 Main Street, P.O. Drawer 1767
                                        Paintsville, Kentucky 41240-1767
                                        Telephone: (606) 789-3747
                                        Facsimile: (606) 314-0417
                                        dbanks@psbb-law.com
                                        Counsel for Defendant, State Farm Mutual
                                        Automobile Insurance Company




                                                   1
Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 67 of 70 - Page ID#: 72




                                   CERTIFICATE OF SERVICE

        I certify that the foregoing document was electronically filed with the Clerk of this Court

 using the Kentucky Courts eFiling system, which will send notification of such filing to all parties

 registered to receive electronic filings and that a true and accurate copy of the foregoing document

 was also served via U.S. mail and/or email upon the following:


 Kyle R. Sayler, Esq.
 Morgan, Collins, Yeast & Sayler
 PO Box 2213
 455 2nd Street
 Paintsville, KY 41240
 Kyle.salyer@kentuckycourage.com
 Counsel for the Plaintiff, Lily Bischoff

 Martin S. Summe, Esq.
 Summe & Summe, PSC
 19 West Eleventh Street
 Covington, KY 41011
 summemlaw@gmail.com
 Counsel for the Plaintiff, Lily Bischoff

 Original e-filed with:

 Clerk of the Court
 Campbell Circuit Court
 330 York Street - Suite 8
 Newport, KY 41071

 This the 23rd day of March 2021.
                                               //s// Darrin W. Banks                           .
                                               Darrin W. Banks
                                               Counsel for Defendant, State Farm Mutual
                                               Automobile Insurance Company




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Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 68 of 70 - Page ID#: 73
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                            COMMONWEALTH OF KENTUCKY




                                                                                                     C887E50C-8F7D-4D64-A480-BC3D6C5E3256 : 000001 of 000002
                              CAMPBELL CIRCUIT COURT
                                     DIVISION NO. I
                              CIVIL ACTION NO. 20-CI-00808

 LILY BISCHOFF                                                                      PLAINTIFFS

 -vs-

 STATE FARM MUTUAL AUTOMOBILE
 INSURANCE COMPANY                                               DEFENDANTS
  ____________________________________________________________________________

      PLAINTIFFS RESPONSE TO DEFENDANT’S REQUEST FOR ADMISSIONS
  ____________________________________________________________________________

        Comes the Plaintiff, Lily Bischoff, by and through counsel, and answers the Defendant’s

 request for admission:



        REQUEST NO. 1: Please admit or deny that the amount in controversy for the claim

 filed by Plaintiff against Defendant for bad faith and/or violation of the Kentucky Unfair Claims

 Settlement Practices Act, including statutory interest and attorney fees, exceeds $75,000.

 ANSWER:

 ADMIT.




                                                      Respectfully Submitted,

                                                      /s/ Kyle R. Salyer
                                                      Kyle R. Salyer
                                                      Morgan, Collins, Yeast & Salyer
                                                      PO Box 2213
                                                      455 2nd Street
                                                                                                     NF : 000001 of 000002




                                                      Paintsville, KY 41240
                                                      Tel: 606-789-1135
                                                      Kyle.salyer@kentuckycourage.com
Case: 2:21-cv-00066-DLB-EBA Doc #: 1-1 Filed: 05/21/21 Page: 70 of 70 - Page ID#: 75




                                                                                                 C887E50C-8F7D-4D64-A480-BC3D6C5E3256 : 000002 of 000002
                                                     Martin S. Summe
                                                     Summe & Summe, PSC
                                                     19 West Eleventh Street
                                                     Covington, KY 41011
                                                     Tel. (859) 491-2593
                                                     Fax (859) 479-0188
                                                     Attorneys for the Plaintiffs



                                CERTIFICATE OF SERVICE

        This is to hereby certify that the foregoing was sent on May 3, 2021 to the following:

 Darrin Banks
 Porter, Banks, Baldwin & Shaw, PLLC
 P.O. Box Drawer 1767
 Paintsville, KY 41240
 dbanks@psbb-law.com


                                                     /s/ Martin S. Summe
                                                     Martin S. Summe




                                                                                                 NF : 000002 of 000002
